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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                          Before the Honorable Karen B. Molzen
                                                      Initial Appearance
Case Number:                MJ 23-1124 KBM                        UNITED STATES vs. SENA
Hearing Date:               7/12/2023                             Time In and Out:           10:07-10:11 (1 min)/10:12-10:16
Courtroom Deputy:           N. Maestas                            Courtroom:                 Rio Grande
                                                                                             Devon Fooks (for purposes of the
Defendant:                  Diego Michael Sena                    Defendant’s Counsel:
                                                                                             Initial Appearance only)
AUSA:                       Nicholas Marshall                     Pretrial/Probation:        George Rodriquez
Interpreter:                                                      Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant would like Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Preliminary/Detention Hearing                       on Friday, July 14, 2023         @ 9:30
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds                                                 ☐    Court does not find probable cause
Detention
☐     Defendant waives right to contest detention
☐
Custody Status
☒     Defendant detained pending hearing
☐     Conditions
Other
☐     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☒
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☒     Court orders USMS to assure Defendant receives medical treatment
